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 6
 7
                                 UNITED STATES DISTRICT COURT
 8                              NORTHERN DISTRICT OF CALIFORNIA

 9
10   WAYNE HAYES, Individually and on Behalf of All )     Case No.:
     Others Similarly Situated,                     )
11                                                  )     COMPLAINT FOR VIOLATIONS OF
                                                    )     THE FEDERAL SECURITIES LAWS
12                         Plaintiff,               )
                                                    )     CLASS ACTION
13          v.                                      )
                                                    )     Demand for Jury Trial
14   ENPHASE ENERGY, INC., BADRINARAYANAN )
     KOTHANDARAMAN and MANDY YANG,                  )
15                                                  )
                           Defendants.              )
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 1          Plaintiff Wayne Hayes (“Plaintiff”), individually and on behalf of all other persons similarly
 2   situated, by his undersigned attorneys, alleges in this Complaint for violations of the federal securities

 3   laws (the “Complaint”) the following based upon knowledge with respect to his own acts, and upon
 4   facts obtained through an investigation conducted by his counsel, which included, inter alia, review and
 5   analysis of: (a) relevant filings made by Enphase Energy, Inc. (“Enphase” or the “Company”) with the
 6   United States Securities and Exchange Commission (the “SEC”); (b) Enphase’s public documents,
 7   conference calls, press releases, and stock chart; (c) securities analysts’ reports and advisories
 8   concerning the Company; and (d) information readily obtainable on the internet.
 9          Plaintiff believes that further substantial evidentiary support will exist for the allegations set
10   forth herein after a reasonable opportunity for discovery. Most of the facts supporting the allegations
11   contained herein are known only to the defendants or are exclusively within their control.
12                                          NATURE OF THE ACTION
13          1.      This is a federal securities class action on behalf of all persons or entities who purchased
14   or otherwise acquired Enphase securities between December 12, 2022 and April 25, 2023, inclusive (the
15   “Class Period”) seeking to recover damages caused by Defendants’ violations of the federal securities
16   laws (the “Class”).
17          2.      Defendant Enphase is an energy technology company that designs, develops,
18   manufactures, and sells solar micro-inverters, battery energy storage and electric vehicle (EV) charging
19   stations in the United States and internationally. Enphase sells its solutions to solar distributors and
20   directly to large installers, original equipment manufacturers, strategic partners, and homeowners.
21   Enphase customers often take loans out to purchase the Company’s products.
22          3.      During the Class Period, Defendants made material misrepresentations and omissions of
23   material fact about Enphase’s business to the market; namely, Defendants failed to disclose that battery
24   shipments were slowing, the Company was suffering from a lower transition rate in California and a
25   slower output of inverters, and Defendants trumpeted Enphase’s Arizona and Florida’s microinverter
26   deployments when they were being harmed by rising interest rates.
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 1          4.      The truth was revealed on April 25, 2023. On that date, the market learned that Enphase’s
 2   battery shipments were slowing, the Company was suffering from a lower transition rate in California

 3   and a slower output of inverters, and rising interest rates in Florida and Arizona markets were adversely
 4   affecting Enphase’s business.
 5          5.      After this news, Enphase’s stock price plummeted from a closing market price of $220.60
 6   per share on April 25, 2023 to $163.83 per share on April 26, 2023 – a decline of nearly 26% in a single
 7   day.
 8                                         JURISDICTION AND VENUE
 9          6.      Plaintiff brings this action on behalf of himself and other similarly situated investors
10   to recover losses sustained in connection with Defendants’ fraud.
11          7.      The claims asserted herein arise under and pursuant to §§10(b) and 20(a) of the
12   Securities and Exchange Act of 1934 (“Exchange Act”) (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule
13   10b-5 promulgated thereunder by the SEC (17 C.F.R. §240.10b-5).
14          8.      This Court has jurisdiction over the subject matter of this action pursuant to 28 U.S.C.
15   §§1331 and 1337, and Section 27 of the Exchange Act, 15 U.S.C. §78aa.
16          9.      Venue is proper in this District pursuant to §27 of the Exchange Act and 28 U.S.C.
17   §1391(b), as Defendant Enphase is headquartered in this District and a significant portion of its
18   business, actions, and the subsequent damages to Plaintiff and the Class, took place within this District.
19          10.     In connection with the acts, conduct and other wrongs alleged in this Complaint,
20   Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,
21   including but not limited to, the United States mail, interstate telephone communications and the
22   facilities of the national securities exchange.
23                                                     THE PARTIES
24          11.     Plaintiff purchased Enphase securities at artificially inflated prices during the Class Period
25   and was damaged upon the revelation of the Defendants’ fraud. Plaintiff’s certification evidencing
26   his transactions in Enphase is attached hereto.
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 1          12.      Enphase Energy Inc. is a Delaware corporation with its principal executive offices located
 2   at 47281 Bayside Parkway, Fremont, California 94538. During the Class Period, the Company’s

 3   securities traded on the NASDAQ Stock Market (the “NASDAQ”) under the symbol “ENPH.”
 4          13.      Defendant Badrinarayanan Kothandaraman (“Kothandaraman”) was, at all relevant
 5   times, the Chief Executive Officer, President and Director of Enphase.
 6          14.      Defendant Mandy Yang (“Yang”) was, at all relevant times, the Chief Financial Officer
 7   and Vice President of Enphase.
 8          15.      Defendants Kothandaraman and Yang are sometimes referred to herein as the
 9   “Individual Defendants.” Enphase together with the Individual Defendants are referred to herein as the
10   “Defendants.”
11          16.      The Individual Defendants, because of their positions with the Company, possessed
12   the power and authority to control the contents of Enphase’s reports to the SEC, press releases, and
13   presentations to securities analysts, money and portfolio managers, and institutional investors, i.e., the
14   market. Each Individual Defendant was provided with copies of the Company’s reports and press releases
15   alleged herein to be misleading prior to, or shortly after, their issuance and had the ability and
16   opportunity to prevent their issuance or cause them to be corrected. Because of their positions and
17   access to material non-public information available to them, each of these Individual Defendants knew
18   that the adverse facts specified herein had not been disclosed to, and were being concealed from, the
19   public, and that the positive representations which were being made were then materially false and/or
20   misleading. The Individual Defendants are liable for the false statements pleaded herein, as those
21   statements were each “group-published” information, the result of the collective actions of the
22   Individual Defendants.
23                                       SUBSTANTIVE ALLEGATIONS
24          17.      Enphase is an energy technology company that designs, develops, manufactures, and
25   sells solar micro-inverters, battery energy storage and EV charging stations in the United States and
26   internationally. The Company also provides microinverter units and related accessories. The
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 1   Company sells its solutions to solar distributors and directly to large installers, original equipment
 2   manufacturers, strategic partners, and homeowners.

 3            DEFENDANTS’ MATERIALLY FALSE AND MISLEADING STATEMENTS
 4          18.     On December 12, 2022, the first day of the Class Period, Enphase announced that it was
 5   expanding its microinverter business in Florida:
 6                  FREMONT, Calif., Dec. 12, 2022 (GLOBE NEWSWIRE) -- Enphase
                    Energy, Inc. (NASDAQ: ENPH), a global energy technology company and
 7                  the world's leading supplier of microinverter-based solar and battery
                    systems, announced today that installers of Enphase® products in
 8                  Florida have seen growing deployments of Enphase Energy Systems™
                    powered by IQ8™ Microinverters.
 9
                    Residential solar deployments in Florida have grown substantially over
10                  the last several years and are expected to reach more than 500 MW by the
                    end of 2022, according to the most recent U.S. Solar Market Insight report
11                  from Wood Mackenzie and the Solar Energy Industries Association.
                    Additionally, deployments of residential battery capacity in Florida are
12                  expected to grow more than four-fold by the end of 2026, according to the
                    most recent U.S. Energy Storage Monitor report from the Energy Storage
13                  Association and Wood Mackenzie.
14                  “Enphase’s IQ8 Microinverters are unlocking more energy independence
                    for our customers than ever before,” said Matt Selby, president at Unicity
15                  Solar. “We’re excited to grow our business by offering Enphase’s
                    industry-leading products and services to homeowners across Florida.”
16                  […]
17                  Emphasis added.
18          19.     The bolded and italicized statements were materially false and misleading when made
19   because Defendants omitted to disclose that higher interest rates were already adversely affecting the
20   Company – particularly in Florida.
21          20.     On January 5, 2023, the Company again trumpeted its increased microinverter
22   deployments – this time for Arizona:
23
24                  FREMONT, Calif., Jan. 05, 2023 (GLOBE NEWSWIRE) -- Enphase
                    Energy, Inc. (NASDAQ: ENPH), a global energy technology company and
25                  the world’s leading supplier of microinverter-based solar and battery
                    systems, announced today that installers of Enphase® products in Arizona
26                  have seen growing deployments of Enphase Energy Systems™ powered
                    by IQ8™ Microinverters.
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 1                  According to the U.S. Solar Market Insight report from Wood Mackenzie
 2                  and the Solar Energy Industries Association, residential solar
                    deployments in Arizona have been growing year-over-year and are
 3                  forecasted to reach 206 MW in 2023, representing a 20 percent increase
                    over the previous year. Additionally, residential battery deployments in
 4                  Arizona are expected to nearly quadruple by the end of 2026, according
                    to the most recent U.S. Energy Storage Monitor report from the Energy
 5
                    Storage Association and Wood Mackenzie.
 6
                    “Arizona homeowners and businesses are increasingly turning to solar
 7                  power to keep their electricity bills under control as power prices continue
                    to rise,” said Chad Waits, owner at Net Zero Solar, an Enphase Platinum
 8                  level installer. “With a shared passion for clean energy, quality, value, and
                    customer service, we’re proud to partner with Enphase to offer the IQ8-
 9
                    powered Enphase Energy System to our customers.”
10
                    “We believe that our customers are the center of our universe and that is
11                  why we are proud to provide them with access to the industry-leading IQ8
                    microinverters from Enphase,” said Caleb Antonucci, chief executive
12                  officer at Our World Energy, an Enphase Gold level installer. “This cutting-
                    edge technology helps Arizona homeowners gain access to clean energy, so
13
                    they can feel good about doing their part to make the world a better, greener
14                  place. We are committed to helping Arizona homeowners harness the
                    power of clean energy and make the most of their unique needs.” […]
15
16   Emphasis added.

17          21.     The bolded and italicized statements were materially false and misleading when made

18   because Defendants omitted to disclose that interest higher rates were already adversely affecting the

19   Company, including in Arizona.

20          22.     On February 7, 2023, Enphase issued a press release announcing its fourth quarter and

21   full-year 2022 financial results, as well as Enphase’s first quarter financial outlook for 2023, which

22   provided, in pertinent part:

23                  IQ8 Microinverters constituted approximately 55% of all our
                    microinverter shipments during the fourth quarter of 2022. We introduced
24                  IQ8 Microinverters in France and the Netherlands in the fourth quarter of
                    2022, marking the firstexpansion into international markets for the product
25                  since its successful launch in North America in late 2021.
26                  Our IQ Battery shipments were 122.1 megawatt hours in the fourth quarter
                    of 2022, compared to 133.6 megawatt hours in the third quarter of 2022.
27                  We made significant software upgrades to continue improving the
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                     installer and homeowner experience and brought commissioning times
 1                   down. We shipped IQ Batteries to North America, Germany, and Belgium
                     during the fourth quarter of 2022. We now have approximately 2,300
 2                   installers worldwide that are certified to install our IQ Batteries.
 3                   We are adding additional manufacturing capacity in the United States due
                     to the strong global demand for our products as well as the incentives
 4                   related to the Inflation Reduction Act (IRA). We plan to begin domestic
                     manufacturing in the second quarter of 2023 with a new contract
 5                   manufacturing partner and in the second half of 2023 with our two existing
                     contract manufacturing partners.
 6
                     We began manufacturing Enphase-branded electric vehicle (EV) chargers
 7                   at our contract manufacturing facility in Mexico, helping us to increase
                     capacity and reduce costs. We expect to introduce IQ smart EV chargers
 8                   to customers in the United States in the first half of 2023. They will provide
                     connectivity and control, enabling use cases like green charging and
 9                   allowing homeowners visibility into the operation of their Enphase solar-
                     plus-storage-plus-EV system through the Enphase® App.
10
                     We continued to make progress on our installer platform. We made
11                   updates to Solargraf℠ software during the fourth quarter of 2022,
                     incorporating battery design and proposal, document management,
12                   consumption modeling, and several otherimprovements requested by our
                     installer partners. In addition, we made significant strides in automating the
13                   creation of permit plan sets with Solargraf software. We now have more
                     than 1,000 installers using the software.
14
15   Emphasis added.
16
             23.     The bolded and italicized statements were materially false and misleading when made
17
     because they omitted to disclose that Enphase’s battery shipments were slowing, the Company was
18
     suffering from a lower transition rate in California and a slower output of inverters, and the rising interest
19
     rates in Florida and Arizona markets were adversely affecting Enphase’s business.
20
             24.     On the same day, Defendants held an earnings call that included Defendants
21
     Kothandaraman and Yang on behalf of Enphase. During the call, the Individual Defendants provided
22
     analysts with detailed information concerning the Company’s continued ramp in higher-margin IQ8
23
     microinverters, launch of its gen-3 battery technology, increased expansion into new markets and the
24
     start-up of U.S. manufacturing lines. Defendants Kothandaraman and Yang commented on Enphase’s
25
     achievement of delivering record quarterly revenue for 1Q 2023 despite seasonality and the challenging
26
     macro environment:
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 1                  [Defendant Kothandaraman]:
 2                  Let’s talk about microinverter manufacturing. Our overall supply
                    environment remains quite stable in general. There are issues that crop up
 3                  from time to time. Our teams are staying on top of them. Our quarterly
                    capacity was 5 million microinverters exiting Q4. We are on track to begin
 4                  manufacturing at Flex Romania starting this quarter, enabling us to service
                    Europe better. This will enable a total quarterly capacity of 6 million
 5                  microinverters exiting Q1. We are going to increase this capacity even more
                    with U.S. manufacturing.
 6
                    Let’s cover that now. As we discussed last quarter, we are pleased that the
 7                  IRA will help bring back high-tech manufacturing to the U.S. and
                    stimulate the economy through the creation of jobs. We are excited to
 8                  service the U.S. customers better with local manufacturing. We plan
                    to begin U.S. manufacturing of our microinverters in the second
 9                  quarter of 2023 with a new contract manufacturing partner and in the
                    second half of 2023 with our 2 existing contract manufacturing partners.
10                  We plan to open 6 manufacturing lines by the end of this year adding a
                    quarterly capacity of 4.5 million microinverters, bringing our total
11                  quarterly capacity to more than 10 million microinverters as we exit 2023.
12                  ...
13                  Let's cover the regions. Our U.S. and international revenue mix for Q4
                    was 71% and 29%, respectively. In the U.S., our revenue increased 15%
14                  sequentially and 59% year-on-year. We had record quarterly revenue,
                    record quarterly sell-through for our microinverters and record quarterly
15                  installer count in the fourth quarter. Our microinverter channel inventory
                    was quite healthy at the end of the fourth quarter, while our storage
16                  channel inventory was a little elevated.
17                  ...
18                  We have a strong team in place and are quite bullish about 2023. We
                    expect to introduce IQ batteries and IQ8 microinverters into many
19                  more countries in Europe as we progress through the year. Our value
                    proposition is our differentiated home energy management systems,
20                  combined with high quality and great customer experience.
21   Emphasis added.
22          25.     The bolded and italicized statements were materially false and misleading when made
23   because they omitted to disclose that Enphase battery shipments were slowing, the Company was suffering
24   from a lower transition rate in California and a slower output of inverters, and the rising interest rates in
25   Florida and Arizona markets were adversely affecting Enphase’s business.
26          26.     Defendant Kothandaraman also highlighted Enphase’s opportunities for the upcoming
27   fiscal year 2023:
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                   We manage for the long term. The basic thesis ongoing solar and storage
 1                 remains intact, aided by a few factors: first, the utility rates which are rising
                   in many states across the U.S.; second, the 30% ITC tax credit, which has
 2                 been extended for 10 years with the IRA; and third, the desire for energy
                   independence and tackling climate change.
 3
                   At Enphase, we will continue to make best-in-class home energy systems
 4                 with a laser focus on product innovation, quality and customer experience.
                   Let's switch to talking about battery. We shipped 122-megawatt hours of
 5                 IQ batteries in Q4. We have now certified approximately 2,300 installers
                   worldwide since the introduction of IQ batteries into North America,
 6                 Germany and Belgium. Our installers in North America experienced a
                   median commissioning time of 91 minutes exiting Q4 compared to 118
 7                 in Q3. We made significant software changes to improve
                   communication, big transitions and commissioning time, and I'm quite
 8                 happy with the performance of the team.
 9                 As a result, we saw slightly higher sell-through of our batteries in Q4
                   versus Q3. We've also got a number of feedback from the installers
10                 about the fact of improved performance in terms of commissioning. We
                   plan to ship 100- to 120-megawatt hours of IQ batteries in Q1. We also
11                 expect to start ramping our third generation IQ battery in North America
                   and Australia in the second quarter. This battery has got 5-kilowatt hour
12                 modularity, 2x the power compared to our existing battery and 30-minute
                   commissioning time in addition to being easier to install and service. We
13                 expect the higher charge discharge rate as well as the 5-kilowatt hour
                   modularity to be uniquely beneficial to the homeowners under the
14                 upcoming NEM 3.0 tariff in California.
15                 With the significant changes we are making to our IQ batteries, we are
                   confident that storage installations will become as efficient as
16                 microinverters. And as a result, the profitability for installers should get
                   better. We expect our battery business to perform well in the second half of
17                 the year, both due to our third-generation battery as well as NEM 3 adoption
                   in California.
18
                   ...
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                   In summary, we are quite pleased with our performance. As a
20                 reminder, our strategy is to build best-in-class home energy systems and
                   deliver them to homeowners through our installer and distributor
21                 partners, enabled by the installer platform. We have many new products
                   that are coming out in 2023, that will increase our served available market
22                 and positively contribute to the top line.
23                 We look forward to introducing IQ8 microinverters worldwide,
                   introducing IQ batteries into more countries in Europe, launching our
24                 third-generation battery in North America and Australia as well as
                   introducing our highest power 480- watt IQ8P microinverter for both
25                 the U.S. small commercial and emergingresidential markets. We're
                   also excited about the upcoming Solargraf functionality, especially the
26                 NEM 3.0 functionality. And finally, the work we are doing to bring both
                   smart EV chargers as well as bidirectional EV charging capabilities to
27                 the market.
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 1   Emphasis added.
 2          27.     The bolded and italicized statements were materially false and misleading when made

 3   because they omitted to disclose that Enphase battery shipments were slowing, the Company was suffering
 4   from a lower transition rate in California and a slower output of inverters, and the rising interest rates in
 5   Florida and Arizona markets were adversely affecting Enphase’s business.
 6          28.     Also during the call, Defendant Kothandaraman was specifically asked about the NEM
 7   3.0 system’s effect on Enphase’s solar products:
 8                  <Q: Brian K. Lee -Goldman Sachs Group, Inc.- Analyst> … First question
                    I had was just around NEM 3.0. I think there's different implications
 9                  of that policy uncertainty near term and medium term from what we're
                    hearing. So maybe just wanted to get your thoughts near term, some views
10                  out there that maybe there’s a pull forward on demand in California. Would
                    be curious what you're seeing with respect to that? And then kind of in the
11                  medium term, we’re hearing the industry is still maybe trying to figure out
                    how to navigate this. So curious how you specifically are thinking about
12                  the second half of 2023 in the U.S.? Are you kind of base case in California
                    to be down significantly?
13
                    And then how do you see yourself navigating that, if that's the case? Are you
14                  driving more product to other states, focusing more in Europe? Just curious
                    just how you'd be thinking about planning into that period of higher policy
15                  uncertainty in the back half?
16                  <A: Badrinarayanan Kothandaraman > Yes. On NEM 3, we aren't really
                    seeing any pull forward right now. But in talks with few installers in
17                  California, both big and small, like what I said, the originations are up
                    strongly. They are all quite optimistic. And maybe we will see something
18                  soon that's why I talked about an optimistic Q2. But so far, we haven't
                    seen any pull forward demand yet.
19
                    Now on talking about NEM 3.0 in general. NEM 3.0 is going to be
20                  incredibly positive for us. Because NEM 3.0, I mean, just so everybody
                    gets it, I'll talk about NEM 3.0, the features of NEM 3.0. Basically, the -
21                  - previously, the import and export rates were the same. So therefore,
                    when you exported electrons with the solar system didn't really matter. As
22                  long as you exported, it got directly subtracted from what you import. That’s
                    why it's called net metering, and that was net metering 2.0. With NEM 3.0,
23                  it matters when you export these electrons. So you have 24 hours a day,
                    365 days a year. So basically, 8,760 data points, and there is an export rate
24                  for each of those data points. Each of those hours, there is an export rate.
                    And -- but what it works out to be is if you are interested in a pure solar
25                  system, your payback dropped understandably from, let's say, 5 years, it
                    increases actually to something like 7 or 7.5 years with the pure solar
26                  system.
27                  ...
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                     I'm not sure whether California will go in that direction. Time will tell
 1                   because, we do have some color. We do have resilience issues as well. But
                     I'm sure markets will evolve a little in that direction, too. So bottom
 2                   line, we are incredibly optimistic. We got the right batteries for it with
                     the third-generation battery. We got the modularity, which I think will
 3                   start becoming popular. Grid-tied may become popular, but we'll be ready
                     to do either grid tied or off grid, on grid withbackup. The things that are
 4                   looking, we like NEM 3.0. Of course, we didn't like the fact the step down
                     happened right away. But I think in the long term, it's an okay decision.
 5
 6   Emphasis added.
 7           29.     The bolded and italicized statements were materially false and misleading when made
 8   because they omitted to disclose that the Company was suffering from a lower transition rate in California
 9   and a slower output of inverters.
10                                         THE TRUTH IS REVEALED
11           30.     On April 25, 2023, Enphase issued a press release announcing its first quarter results
12   and weak revenue outlook for the second quarter of 2023. Also on April 25, 2023, Enphase hosted an
13   earnings call that included Defendants Kothandaraman and Yang. During the call, the Individual
14   Defendants revealed the problems that had plagued the Company since the start of the Class Period:
15                   In the U.S., our revenue decreased 9% sequentially due to seasonality
                     and macroeconomic conditions and increased 28% year-on-year. The sell-
16                   through of our microinverters in Q1 decreased 21% sequentially compared
                     to Q4, worse than the typical seasonality of 15%. Our microinverter channel
17                   inventory at the end of Q1 was relatively normal, while the storage
                     channel inventory was a little elevated.
18
                     ...
19
                     As I said earlier on this call, our sell-through of microinverters in the U.S.
20                   was 21% lesser in Q1 compared to Q4. Our sell-through in California was
                     only 9% lesser than Q4. There was some impact due to the weather in
21                   early Q1, but the NEM 2.0 rush in Q1 more than compensated for it.
22                   California installers took advantage of the NEM 2.0 rush and have built
                     up a solar backlog for the next 3 to 4 months. We believe the installers
23                   aren’t expanding their crews to accelerate installation, they’re laser
                     focused on their cash flow due to the high interest rate environment and are
24                   looking clarity – for – yes, clarity on the NEM 3.0 demand.
25                   Sell-through of our batteries in California was 23% lesser in Q1 compared
                     to Q4 as installers focused mainly on solar. We expect this trend to
26                   continue for the next 3 to 4 months. After that, we see NEM 3.0 as a net
                     positive for California and expect strong demand to resume for solar plus
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                    storage. Let’s cover the rest of the U.S. The sell-through of microinverters
 1                  in non-California states was 25% lesser in Q1 compared to Q4.
 2                  We observed that the sell-through was even lower in states with low utility
                    rates, such as Texas, Florida and Arizona. In these states, the economics of
 3                  loan financing has worsened due to rising interest rates. The sell-through
                    performance in the Northeast U.S. was a little better. Coming to IQ
 4                  batteries, the sell-through in non-California states was 28% lesser in Q1
                    compared to Q4.
 5
 6          31.     After Enphase’s April 24, 2023 press release and conference call, Enphase’s stock price
 7   fell from a closing market price of $220.60 per share on April 25, 2023 to close at only $163.83 per share
 8   on April 26, 2023 – a decline of nearly 26% in the span of just a single day.
 9          32.     Analysts immediately took Enphase to task for the surprising bad news. An April 26,
10   2023 Guggenheim report stated that “strength in European markets and California NEM 2.0 pull-
11   forward demand failed to compensate for weakness elsewhere in the US…. Excluding California, we
12   think it’s possible that the rest of the YS does not see growth in Q2. This illustrates the extent to which
13   more expensive financing and lower utility power prices in some markets, notably Texas and Florida,
14   are impacting demand.”
15          33.     Wells Fargo lowered its price target for Enphase’s stock and stated that the Company’s
16   “revenue outlook for the next 1-2 Qs is uncertain due to NEM 3.0, higher interest rates & elevated
17   storage inventories.”
18                                              LOSS CAUSATION
19          34.     During the Class Period, as detailed herein, Defendants made materially false and
20   misleading statements and engaged in a scheme to deceive the market and a course of conduct that
21   artificially inflated the price of Enphase’s securities and operated as a fraud or deceit on Class Period
22   purchasers of Enphase’s securities by materially misleading the investing           public.   Later, when
23   Defendants’ prior misrepresentations and fraudulent conduct became apparent to the market, the
24   price of Enphase’s securities materially declined, as the prior artificial inflation came out of the price
25   over time. As a result of their purchases of Enphase’s securities during the Class Period, Plaintiff and
26   other members of the Class suffered economic loss, i.e., damages under federal securities laws.
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 1          35.      Enphase’s stock price fell in response to the corrective event on April 25, 2023, as alleged
 2   supra. On April 25, 2023, Defendants disclosed information directly related to their prior

 3   misrepresentations and material omissions concerning battery deployment, battery and microinverter
 4   deployment, including in Arizona and Florida, and the role NEM 3.0 was playing in the California
 5   market.
 6                                      CLASS ACTION ALLEGATIONS
 7          36.      Plaintiff brings this action as a class action pursuant to Federal Rule of Civil Procedure
 8   23(a) and (b)(3) on behalf of a class consisting of all persons and entities other than Defendants who
 9   acquired Enphase securities during the Class Period, and who were damaged thereby. Excluded from
10   the Class are Defendants, present and former officers and directors of the Company, members of the
11   Individual Defendants’ immediate families and their legal representatives, heirs, successors or assigns
12   and any entity in which Defendants have or had a controlling interest.
13          37.      The members of the Class are so numerous that joinder of all members is impracticable.
14   Throughout the Class Period, Enphase securities were actively traded on the national securities
15   exchanges. While the exact number of Class members is unknown to Plaintiff at this time and can be
16   ascertained through appropriate discovery, Plaintiff believes that there are hundreds, if not thousands of
17   members in the proposed Class.
18          38.      Plaintiff’s claims are typical of the claims of the members of the Class as all members of
19   the Class are similarly affected by Defendants’ wrongful conduct in violation of federal law that is
20   complained of herein.
21          39.      Plaintiff will fairly and adequately protect the interests of the members of the Class and
22   have retained counsel competent and experienced in class action and securities litigation. Plaintiff has
23   no interests antagonistic to or in conflict with those of the Class.
24          40.      Common questions of law and fact exist as to all members of the Class and predominate
25   over any questions solely affecting individual members of the Class. Among the questions of law and
26   fact common to the Class are:
27          •     Whether Defendants violated the Exchange Act;
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 1          •     Whether statements made by Defendants were materially false and misleading;
 2          •     Whether Defendants omitted material facts necessary to make the statements made, in light

 3                of the circumstances under which they were made, not misleading;
 4          •     Whether Defendants caused Enphase to issue false and misleading filings during the Class
 5                Period;
 6          •     Whether the price of Enphase securities as artificially inflated during the Class Period;
 7          •     Whether members of the Class have sustained damages and, if so, what is the proper measure
 8                of damages.
 9          41.      A class action is superior to all other available methods for the fair and efficient
10   adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the
11   damages suffered by individual Class members may be relatively small, the expense and burden of
12   individual litigation make it impossible for members of the Class to individually redress the wrongs
13   done to them. There will be no difficulty in the management of this action as a class action.
14
                             APPLICABILITY OF PRESUMPTION OF RELIANCE
15
16          42.      Plaintiff will rely, in part, upon the presumption of reliance established by the fraud-on-
17   the market- doctrine in that:
18          •     Enphase securities met the requirements for listing, and were actively traded on the
19                NASDAQ, an efficient market;
20          •     As a public issuer, Enphase filed periodic public reports;
21          •     Enphase regularly communicated with public investors via established market
22                communication mechanisms, including through the regular dissemination of press releases
23                via major newswire services and through other wide-ranging public disclosures, such as
24                communications with the financial press and other similar reporting services; and
25          •     Enphase was followed by a number of securities analysts employed by major brokerage firms

26                who wrote reports that were widely distributed and publicly available.

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 1          43.     Based on the foregoing, the market for Enphase securities promptly digested current
 2   information regarding Enphase from all publicly available sources and reflected such information in the

 3   prices of the securities, and Plaintiff and members of the Class are entitled to a presumption of reliance
 4   upon the integrity of the market.
 5          44.     Alternatively, Plaintiff and the members of the Class are entitled to the presumption of
 6   reliance established by the Supreme Court in Affiliated Ute Citizens of the State of Utah v. United States,
 7   406 U.S. 128 (1972), as Defendants omitted material information in their Class Period statements in
 8   violation of a duty to disclose such information as detailed above.
 9                                                NO SAFE HARBOR
10          45.     The statutory safe harbor provided for forward-looking statements under certain
11   circumstances does not apply to any of the material misrepresentations and omissions alleged in this
12   Complaint.
13          46.     To the extent certain of the statements alleged to be misleading or inaccurate may be
14   characterized as forward looking, they were not identified as “forward-looking statements” when made
15   and there were no meaningful cautionary statements identifying important factors that could cause actual
16   results to differ materially from those in the purportedly forward-looking statements.
17          47.     Defendants are       also    liable   for   any   false   or   misleading   “forward-looking
18   statements” pleaded because, at the time each “forward-looking statement” was made, the speaker knew
19   the “forward-looking statement” was false or misleading and the “forward-looking statement”
20   was authorized and/or approved by an executive officer of Enphase who knew that the “forward-looking
21   statement” was false. Alternatively, none of the historic or present-tense statements made by
22   Defendants were assumptions underlying or relating to any plan, projection, or statement of future
23   economic performance, as they were not stated to be such assumptions underlying or relating to any
24   projection or statement of future economic performance when made, nor were any of the projections or
25   forecasts made by the defendants expressly related to or stated to be dependent on those historic or
26   present-tense statements when made.
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                                             COUNT I
 1                        AGAINST ALL DEFENDANTS FOR VIOLATIONS OF
 2                   SECTION 10(B) AND RULE 10b-5 PROMULGATED THEREUNDER
            48.      Plaintiff repeats and realleges each and every allegation contained above as if fully set
 3
     forth herein.
 4
            49.      During the Class Period, Defendants carried out a plan, scheme and course of conduct
 5
     which was intended to and, throughout the Class Period, did: (i) deceive the investing public, including
 6
     Plaintiff and other Class members, as alleged herein; and (ii) cause Plaintiff and other members of the
 7
     Class to purchase Enphase securities at artificially inflated prices. In furtherance of this unlawful
 8
     scheme, plan and course of conduct, Defendants took the actions set forth herein.
 9
            50.      Defendants (i) employed devices, schemes, and artifices to defraud; (ii) made untrue
10
     statements of material fact and/or omitted to state material facts necessary to make the statements not
11
     misleading; and (iii) engaged in acts, practices, and a course of business which operated as a fraud and
12
     deceit upon the purchasers of the Company’s securities in an effort to maintain artificially high market
13
     prices for Enphase securities in violation of Section 10(b) of the Exchange Act and Rule 10b-5. All
14
     Defendants are sued either as primary participants in the wrongful and illegal conduct charged herein or
15
     as controlling persons as alleged below.
16
            51.      Defendants, individually and in concert, directly and indirectly, by the use, means or
17
     instrumentalities of interstate commerce and/or of the mails, engaged and participated in a continuous
18
     course of conduct to conceal adverse material information about Enphase’s financial well-being and
19
     prospects, as specified herein.
20
            52.      Defendants employed devices, schemes and artifices to defraud, while in possession of
21
     material adverse non-public information and engaged in acts, practices, and a course of conduct as
22
     alleged herein in an effort to assure investors of Enphase’s value and performance and continued
23
     substantial growth, which included the making of, or the participation in the making of, untrue
24
     statements of material facts and/or omitting to state material facts necessary in order to make the
25
     statements made about Enphase and its business operations and future prospects in light of the
26
     circumstances under which they were made, not misleading, as set forth more particularly herein, and
27
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 1   engaged in transactions, practices and a course of business which operated as a fraud and deceit upon
 2   the purchasers of the Company’s securities during the Class Period.

 3           53.     Each of the Individual Defendants’ primary liability and controlling person liability
 4   arises from the following facts: (i) the Individual Defendants were high-level executives and/or directors
 5   at the Company during the Class Period and members of the Company’s management team or had
 6   control thereof; (ii) each of these defendants, by virtue of their responsibilities and activities as a senior
 7   officer and/or director of the Company, was privy to and participated in the creation, development and
 8   reporting of the Company’s internal budgets, plans, projections and/or reports; (iii) each of these
 9   defendants enjoyed significant personal contact and familiarity with the other defendants and was
10   advised of, and had access to, other members of the Company’s management team, internal reports and
11   other data and information about the Company’s finances, operations, and sales at all relevant times;
12   and (iv) each of these defendants was aware of the Company’s dissemination of information to the
13   investing public which they knew and/or recklessly disregarded was materially false and misleading.
14           54.     Defendants had actual knowledge of the misrepresentations and/or omissions of material
15   facts set forth herein. Thus, Defendants’ material misrepresentations and/or omissions were done
16   knowingly to conceal material problems with Enphase’s business and financial results from the investing
17   public and supporting the artificially inflated price of its securities.
18           55.     As a result of the dissemination of the materially false and/or misleading information
19   and/or failure to disclose material facts, as set forth above, the market price of Enphase securities was
20   artificially inflated during the Class Period. In ignorance of the fact that market prices of the Company’s
21   securities were artificially inflated, and relying directly or indirectly on the false and misleading
22   statements made by Defendants, or upon the integrity of the market in which the securities trade, and/or
23   in the absence of material adverse information that was known to or recklessly disregarded by
24   Defendants, but not disclosed in public statements by Defendants during the Class Period, Plaintiff and
25   the other members of the Class acquired Enphase securities during the Class Period at artificially high
26   prices and were damaged thereby.
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 1             56.   At the time of said misrepresentations and/or omissions, Plaintiff and other members of
 2   the Class were ignorant of their falsity and believed them to be true. Had Plaintiff and the other members

 3   of the Class and the marketplace known the truth regarding the problems that Enphase was experiencing,
 4   which were not disclosed by Defendants, Plaintiff and other members of the Class would not have
 5   purchased or otherwise acquired their Enphase securities, or, if they had acquired such securities during
 6   the Class Period, they would not have done so at the artificially inflated prices which they paid.
 7             57.   By virtue of the foregoing, the Defendants named in this Count violated Section 10(b) of
 8   the Exchange Act and Rule 10b-5 promulgated thereunder. As a direct and proximate result of
 9   Defendants’ wrongful conduct, Plaintiff and the other members of the Class suffered damages in
10   connection with their respective purchases and sales of the Company’s securities during the Class
11   Period.
                                          COUNT II
12                            AGAINST INDIVIDUAL DEFENDANTS
13                   FOR VIOLATIONS OF SECTION 20(a) OF THE EXCHANGE ACT
               58.   Plaintiff repeats and realleges each and every allegation contained above as if fully set
14
     forth herein.
15
               59.   The Individual Defendants acted as controlling persons of Enphase within the meaning
16
     of Section 20(a) of the Exchange Act as alleged herein. By virtue of their high-level positions and their
17
     ownership and contractual rights, participation in, and/or awareness of the Company’s operations and
18
     intimate knowledge of the false financial statements filed by the Company with the SEC and
19
     disseminated to the investing public, Individual Defendants had the power to influence and control and
20
     did influence and control, directly or indirectly, the decision-making of the Company, including the
21
     content and dissemination of the various statements which Plaintiff contend are false and misleading.
22
     The Individual Defendants were provided with or had unlimited access to copies of the Company’s
23
     reports, press releases, public filings, and other statements alleged by Plaintiff to be misleading prior to
24
     and/or shortly after these statements were issued and had the ability to prevent the issuance of the
25
     statements or cause the statements to be corrected.
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 1          60.     In particular, Individual Defendants had direct and supervisory involvement in the day-
 2   to-day operations of the Company and, therefore, had the power to control or influence the particular

 3   transactions giving rise to the securities violations as alleged herein, and exercised the same. The
 4   Individual Defendants, on the basis of stock ownership and Board control, had significant access to
 5   information and control over Enphase.
 6          61.     As set forth above, Defendants each violated Section 10(b) and Rule 10b-5 by their acts
 7   and omissions as alleged in this Complaint. By virtue of their position as controlling persons, The
 8   Individual Defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct and
 9   proximate result of Defendants’ wrongful conduct, Plaintiff and other members of the Class suffered
10   damages in connection with their purchases of the Company’s securities during the Class Period.
11                                   PRAYER FOR RELIEF
            WHEREFORE, Plaintiff prays for relief and judgment, as follows:
12
13   (A)    Determining that this action is a proper class action and certifying Plaintiff as class

14   representative under Rule 23 of the Federal Rules of Civil Procedure;

15   (B)    Awarding damages in favor of Plaintiff and the other Class members against all Defendants,
16
     jointly and severally, for all damages sustained as a result of Defendants’ violations of the Securities
17
     Exchange Act of 1934, in an amount to be proven at trial, including interest thereon;
18
     (C)    Awarding Plaintiff and the Class their reasonable costs and expenses incurred in this action,
19
     including counsel fees and expert fees; and
20
21   (D)    Such other and further relief as the Court may deem just and proper.

22   //
23   //
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     //
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 1                                      DEMAND FOR TRIAL BY JURY
 2          Plaintiff hereby demands a trial by jury.

 3    Dated: July 15, 2024                              Respectfully submitted,
 4                                                      THE BURKE LAW FIRM
 5                                                      /s/ Timothy J. Burke
 6                                                      Timothy J. Burke, State Bar No. 181866
                                                        1001 Wilshire Boulevard, #2187
 7                                                      Los Angeles, CA 90017
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 8                                                      Facsimile: (310) 602-6589
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 9
                                                        Local Counsel for Wayne Hayes
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                                                        Joseph R. Seidman, Jr.
12                                                      10 East 40th Street
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13                                                      Telephone: (212) 779-1414
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15
                                                        Counsel for Plaintiff Wayne Hayes
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                                        CERTIFICATION OF NAMED PLAINTIFF
                                      PURSUANT TO FEDERAL SECURITIES LAWS

                      WAYNE HAYES (“Plaintiff”), declares the following as to the claims asserted under
              the federal securities laws:
                      1.      Plaintiff has reviewed a copy of the Complaint in this matter and authorizes the
              filing of the Complaint. Plaintiff retains Bernstein Liebhard LLP and such counsel they deem
              appropriate to associate with to pursue such action.

                       2.     Plaintiff did not purchase or acquire the security that is the subject of this action at
              the direction of Plaintiff’s counsel or in order to participate in this private action or any other
              litigation under the federal securities laws.

                      3.       Plaintiff, individually or as part of a group, is willing to serve as a representative
              party on behalf of the class, including providing testimony at deposition and trial, if necessary.
              A lead plaintiff is a representative party who acts on behalf of other class members in directing
              the action, and whose duties may include testifying at deposition and trial. Plaintiff understands
              that the litigation is not settled, this is not a claim form, and sharing in any recovery is not
              dependent upon the execution of this Certification.

                     4.      Plaintiff’s transactions in Enphase Energy, Inc. securities during the relevant
              period as specified in the complaint are set forth in “Schedule A” to this Certification.

                      5.      Plaintiff has not sought to serve or served as a representative party in a class
              action that was filed under the federal securities laws within the three-year period prior to the
              date of this Certification.

                      6.      Plaintiff will not accept any payment for serving as a representative party on
              behalf of the class beyond Plaintiff’s pro rata share of any recovery, except as ordered and
              approved by the court, any award for reasonable costs and expenses (including lost wages)
              directly relating to the representation of the class.

                      I declare under the penalty of perjury under the laws of the United States of America that
              the foregoing is true and correct.

                           07/11/2024
              DATED:
                                                                               WAYNE HAYES




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                                                             SCHEDULE A
                                                   Transaction
                                    Date                             Quantity   Price Per Share
                                                      Type
                                   2/14/23         PURCHASE             5          $200.50
                                   2/23/23         PURCHASE             2          $199.00
                                   2/24/23         PURCHASE             2          $197.30
                                   4/5/23          PURCHASE             5          $190.70
                                   4/25/23         PURCHASE             1          $183.90




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